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UNITED STATES DISTRICT COURT
SOUTHERN Districtof OHIO

 

 

 

 

 

 

UNITED STATES OF AMERICA ) AMENDED JUDGMENT IN A CRIMINAL CASE
v. )
Khah-d Bryam ) Case Number: l :16cr060
§ USM Number: 76327-061
Date of Original Judgment: 1/23/2018 ) Zenaida Lockard, Esq.
(Or Da!e ofl.as! Amended Judgmem) ) Defendant’s Altomey
Reason for Amendment: )
[:| Con'cction of Sentence on Remand (18 U_S.C. 3742(1"}(1) and (2)) ij Modification of` Supervision Conditions (18 U.S.C. §§ 3563({:) or 3583(€))
[:l Rcduction ol`Sentence for Changcd Circuinslances (Fed. R. Crim. ) § Modification ol`lmposed Term of imprisonment for Extraordinary and
P. 35(b)) ) Compclling Reasons (18 U_S.C. § 3582(<:)(|))
l:] Corrcction ol` Sentence by Senlencing Court (Fed. R. Crim. P. 35(a)) § 1:| Modil`lcation of [mposcd Terrn ot`lmprisonment for Retroactive Amcndmcnl(s}
l:] Correction ol` Sentence for Clerical Mistake (ch. R. Crim. P. 36} ) 10 the geme“clng G“idellnes (lg U-S-C- § 3582(¢)(2))
) l:| Direcl Motion to Distric£ Court Pursuanl to |:l 28 U.S.C. § 2255 or
) |:] 13 U.s.c. § 3559(¢}{7)
|:l Modil`lcation of Restilution Order(IS U_S.C. § 3664)
THE DEFENDANT:
§ pleaded guilty to count(s) l of the Indictment
I:l pleaded nolo contendere to count(s) _
which Was accepted by the court.
m was found guilty on count(s)
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Sectionl Nature of Offense OIfeose Ended Count
18 USC 922(g)(l), Possession of a Firearm by a Prohibited Person 1/19/2016 l
924(a)(2) and 2
The defendant is sentenced as provided in pages 2 through 7 of this judgmentl The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
I:l The defendant has been found not guilty on count(s)
l:l Count(s) I:l is I:l are dismissed on the motion of the United States.

 

lt is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of narne, residence,
or mailing address until all fines, restitution, costs, and special assessmean imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances

1/11/2018

Date of Imposition of.l%ckK/M
M ,

'Signature of Judge

Michael R. Barrett, United States District judge
Narne and Title of Judge

/ 31_ w/ 8/
Datey f

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lmprisonment

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DEFENDANT: Khalid Bryant

CASE NUMBER: 1116cr060

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of : Forty-tive (45) months with credit for time served and for time awating his commitment to the BOP.*

E The court makes the following recommendations to the Bureau of Prisons:
The Defendnat be permitted to participate in the BOP RDAP program; the Defendant be place at I-`MC Lexington, Lexintgon, KY

|Xl The defendant is remanded to the custody of the United States Marshal.

El The defendant shall surrender to the United States Marshal for this district:

l:l at I:I a.m. I:I p.m. on
I:I as notified by the United States Marshal.

 

l:l The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

l:l before 2 p.m. on

 

l:\ as notified by the United States Marshal.
I:l as notified by the Probation or Pretrial Services 0che.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at with a certified copy of this judgment
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

A0245C(R°V'°WYS(§£"S§’§E§'$€BU®£§$$N:NB“*BOC #: 72 Filed: 07/13/18 Page: 3 Of 6 P(£\GE|D #: 283

ee Supervis OTE: ldentify Changes with Asterisks (*))

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DEFENDANT: Khalid Bryant
CASE NUMBER: l:160r060

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:

Two (2) years subject to review after one (l) year.

N»-¢

|Zl
|:|

|:|

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

You must not unlawfully possess a controlled substance

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from

imprisonment and at least two periodic drug tests thereafter, as determined by the court.

l:l The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
SubeaIlCe abuse. (check r'fapplicable)

You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of

restitution (check ifapplr'cable)

You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)

You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you

reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)

You must participate in an approved program for domestic violence (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.

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DEFENDANT : Khalid Bryant
CASE NUMBER: l:l6cr060

ADDITIONAL SUPERVISED RELEASE TERMS

l.) The defendant shall participate in a program of testing and treatment for alcohol and controlled substance abuse, as directed by the U.S.
Probation Ofiice, until such time as the defendant is released from the program by the probation office The defendant will make a co-
payment for treatment services not to exceed $25 per month, which is determined by the defendant's ability to pay.

2.) The defendant shall participate in a program of mental health treatment, including pharmacological management and case management
services, as directed by the U.S. Probation Office, until such time as the defendant is released nom the program by the probation office.
The defendant will make a co-payment for treatment services not to exceed $25 per month, which is determined by the defendant‘s ability
to pay.

3. The defendant shall be in complaince with any medications which shall be precribed in accordance with conditional #2 above.

3.) Ifunemployed, the defendant shall participate in a workforce development program until full-time employment is obtained or at the
direction of the probation officer.

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Judgmcnt _ Page 6 of 7
DEFENDANT: Khalid Bryant

CASE NUMBER: 1:160r060
CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment"l Fine Restitution
TOTALS $ 100.00 $ $ $
l:l The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination

I:l The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in

the priority order or percentage payment colunm below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss** Restitution Ordered Priorig or Percentage
TOTALS $ $

I:l Restitution amount ordered pursuant to plea agreement $

l:l The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the

fifteenth day alter the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

I:I The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
|:| the interest requirement is waived for |:| fine I:l restitution.

l:l the interest requirement for the I:I fine El restitution is modified as follows:

* Justice for Victims ofTraHicking Act of2015, Pub. L. No. 114-22.

** Findings for the total amount of losses are required under Chapters 109A, l 10, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.

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DEFENDANT: Khalid Bryant

CASE NUMBER: l :l6cr060

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:
A g Lump sum payment of $ 100.00 due immediately, balance due
I:I not later than or

|:| inaccordance with |:| C, l:| D, |:] E, or |:| Fbelow; or

I:I Payment to begin immediately (may be combined with I:l C, I:l D, or \:I F below); or

I:l Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D I:I Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E l:l Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F |:l Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment A]l criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

I:] Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding navee. if annrcvriate.

|:|

The defendant shall pay the cost of prosecution

|:|

The defendant shall pay the following court cost(s):

|X|

The defendant shall forfeit the defendant’s interest in the following property to the United States:
a .22 caliber Sierra Six, Model 218 Revolver, bearing serial number 754201 and ammunition

Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) line principal, (5) line
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.

